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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

BRET A. BIELEMA                                                                       PLAINTIFF

v.                                      5:20-cv-05104-PKH

THE RAZORBACK FOUNDATION, INC.                                                      DEFENDANT

           DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS

         Defendant, The Razorback Foundation, Inc. (the “Foundation”), through its attorneys, for

its Reply in Support of its Motion to Dismiss Plaintiff’s Amended Complaint, states as follows:

         Bielema concedes that the real issue before the Court is the forum selection clause. The

Foundation agrees. Nevertheless, Bielema cannot resist continuing to distort the record. Although

the Foundation strongly disagrees with Bielema’s distorted characterizations of the contractual

language and his attempt to rewrite history, it will leave those matters for another day.

         Crystal clear from Bielema’s brief is that he will say anything to win.

        In his original complaint, he alleged that the Foundation is an arm of the state. When he
         realized those assertions may result in dismissal, he alleged the exact opposite in his
         amended complaint. He now doubles down in his brief, asserting that the Foundation could
         not possibly be an arm of the state.
        In his brief, he first argues that the Foundation drafted the venue provision, but then argues
         a few pages later that Bielema supposedly insisted on including the new venue provision.
        He cited the Northport decision in his original complaint in support of federal venue but
         now largely ignores this Court’s precedent that is the most salient authority on the issue.

        He first argues that a court sits where it regularly conducts court proceedings, but later
         reverses course to suit his argument and argues that a court sits where a case is to be tried.

Bielema’s change of position at every turn undermines his arguments and demonstrates an

unfortunate truth – Bielema filed suit in this Court, not because he actually believed it was the

proper forum under the contract, but because he perceives some tactical advantage to litigating his

claims in a different forum.

                                                                   EXHIBIT A
                                                   1
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    I.      The Forum Selection Clause Requires Dismissal in Favor of State Court

         Bielema concedes that the forum selection clause is mandatory and enforceable. He instead

argues that because the forum selection clause designates a county where a state and federal court

both sit, the clause permits the case to be heard in either court. But there are few cases that address

this specific point, and the most analogous of those cases hold that the state court must hear the

dispute. See Robrinzine v. Big Lots Stores, Inc., 2016 WL 3459733, at *3 (N.D. Ill. June 24, 2016)

(provision stating “Franklin County Ohio shall be designated as the venue” required state court to

hear dispute even though federal court sat in chosen county); Switch, Ltd v. GEI Consultants, Inc.,

2019 WL 4803222, at *1 (D. Nev. Oct. 1, 2019) (provision stating “Clark County, Nevada, shall

be the exclusive venue and jurisdiction for any dispute arising out of or related to this Agreement”

required state court to hear dispute even though federal court sat in chosen county).

         Notably, Bielema cites no relevant Eighth Circuit precedent. Bielema cites a dozen or more

out-of-circuit cases interpreting materially different contractual language but largely ignores the

elephant in the room – that the only binding precedent from this Court held that a virtually identical

forum selection clause required that the dispute be heard in state court. See Northport Health Servs.

of Arkansas, LLC v. Ellis, 2020 WL 1846531, at *1 (W.D. Ark. Apr. 10, 2020).

         The Foundation has not found a case that lines up more squarely than the Northport case

(i.e., involves a forum selection clause that (i) uses the phrase “shall be” as opposed to “in” or “of,”

(ii) employs mandatory venue language, and (iii) designates a county where both a state a federal

court sit). Bielema fails to show that the Court’s holding there does not dictate dismissal in this

case. Bielema’s only argument distinguishing the Northport case as a legal matter is spurious. He

contends that this Court’s holding relied on the pair of words “sole and exclusive” – suggesting

that the Court’s holding would have been different if only the word “sole” or “exclusive” were

present in the contract at issue. That is not how the Foundation reads that decision, nor is it how

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other courts in this circuit have interpreted those terms. See Wahrmund v. Buschman, 2017 WL

5661340, at *4 (E.D. Ark. Mar. 28, 2017) (explaining that “words such as shall, must, sole, only,

or exclusive” are all words of exclusivity (emphasis added)). Neither is there anything in the cases

to suggest that the word exclusive is broader than the word sole, as Bielema later argues.

       In an apparent attempt to avoid this Court’s previous decision, Bielema’s brief is heavy

with case citations, but no amount of inapposite authority will tip the scales in his favor. Many of

the cases upon which Bielema relies involved situations where there was no federal courthouse in

the designated county.1 These cases stand for the unremarkable proposition that where there is not

a federal court in the chosen county, state courts must hear the dispute. These cases do not,

however, stand for the inverse. In fact, numerous cases come out the other way on this issue.

Northport, 2020 WL 1846531, at *4 (dismissing in favor of state court where a federal court sat in

chosen county); Robrinzine, 2016 WL 3459733, at *9 (same); Hot Shot Servs., Inc. v. Nanney,

2010 WL 11493293, at *5 (D.N.M. Apr. 23, 2010) (same). Cases where there is no federal court

in the chosen county are wholly irrelevant, and Bielema’s assertion that the presence of a federal

courthouse in the county ends the inquiry is flatly false. Additionally, many of Bielema’s cases

had been removed to federal court and often involved one party having arguably waived the right

to remove by agreeing to language in a forum selection clause.2 Removal is a different procedure



1
   City of Albany v. CH2M Hill, Inc., 924 F.3d 1306, 1308-09 (9th Cir. 2019); Bartels v. Saber
Healthcare Grp., LLC, 880 F.3d 668, 676-77 (4th Cir. 2018); Yakin v. Tyler Hill Corp., 566 F.3d
72, 76 (2d Cir. 2009); Collin Cty. v. Siemens Bus. Servs., Inc., 250 F. App'x 45, 52 (5th Cir. 2007);
Weener Plastics, Inc. v. HNH Packaging, LLC, 2009 WL 2591291, at *8 (E.D.N.C. Aug. 19,
2009); Hope Cancer Treatment Found., Inc. v. Mountaineer Park, Inc., 2007 WL 184820, at *2
(W.D. Pa. Jan. 19, 2007); Argyll Equities LLC v. Paolino, 211 F. App’x 317, 319 (5th Cir. 2006).
2
   Bartels, 880 F.3d at 676; Blanca Peak Res. v. Big Star Energy Ltd., 2020 WL 1445785, at *1
(N.D. Tex. Mar. 24, 2020); Weener, 2009 WL 2591291, at *4; Links Design, Inc. v. Lahr, 731 F.
Supp. 1535, 1536 (M.D. Fla. 1990); Albany, 924 F.3d at 1308-09; Simonoff v. Expedia, Inc., 643
F.3d 1202, 1205 (9th Cir. 2011); Yakin, 566 F.3d at 76; Collin, 250 F. App'x at 50; Nahigian v.
Juno-Louduon, LLC, 661 F. Supp. 2d 563, 567-68 (E.D. Va. 2009); Paolino, 211 F. App’x at 319.

                                                 3
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entirely. See Presson v. Haga, 2018 WL 4184344, at *3 (E.D. Mo. Aug. 31, 2018) (distinguishing,

and choosing not to apply, cases involving removal in interpreting a forum selection clause). As a

result, these cases likewise are of no aid to Bielema’s cause.

        In the face of irrefutable authority, Bielema strains to argue that there is no significance to

the word “in” in forum selection clauses. This argument is contrary to this Court’s decision in

Northport and flies in the face of numerous cases, including those cited in Bielema’s own brief.

Northport, 2020 WL 1846531, at *3 (“The Court agrees that the ‘of’/‘in’ distinction identified in

these cases can serve to clarify the intent of the parties to a forum-selection clause[.]”); see also

Simonoff, 643 F.3d at 1206-07. It is clear that the word “in” is technically meaningful in forum

selection clauses. The Foundation is not the first to have “imagined” this distinction; numerous

courts have relied on it. As a result, the cases Bielema cites with the word “in” are unhelpful.3

        Perhaps most notable is the explanation from the Fifth Circuit in Alliance Health Grp.,

LLC v. Bridging Health Options, LLC – a case upon which Bielema and nearly all of his supporting

cases rely. There, the forum selection clause stated: “exclusive venue for any litigation related

hereto shall occur in Harrison County, Mississippi.” 553 F.3d 397, 399 (5th Cir. 2008) (emphasis

added). The court determined that the federal court could hear the case based, in part, on the word

“in.” Id. at 400. Importantly, the court explained, “The clause at issue does not state that venue

shall be some county, which might have suggested an intent to limit venue to a single tribunal.

On the contrary it merely says that venue shall exclusively occur in Harrison County, a markedly

less specific construction.” Id. at 401 (emphasis added). Here, the forum provision includes

precisely the language Alliance used as a point of comparison: “Washington County, Arkansas,

shall be the exclusive venue[.]” Thus, under Bielema’s own authority, this dispute must be heard



3
    Notably, Bielema removed many of these cases when forced to reduce the pages in his brief.

                                                  4
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by a single tribunal, Washington County Circuit Court.

          Bielema attempts to distinguish cases cited in the Foundation’s brief based on the fact that

they involved one undivided judicial district. He argues that because one division encompasses the

entire state, filing suit in federal court does not guarantee that a case would be tried in the

designated county. But that is simply not the law. The venue statute specifically provides that “[a]

district court may order any civil action to be tried at any place within the division in which it is

pending.” 28 U.S.C. § 1404(c). Additionally, these single division cases comprise only a handful

of the cases that dictate dismissal in favor of state court. See Northport, 2020 WL 1846531;

Robrinzine, 2016 WL 3459733, at *3; see also Tri-Lakes Petroleum Co., LLC v. Brooks, 2014 WL

1789391, at *1 (N.D. Okla. May 5, 2014).4 For example, in Robrizine, the court interpreted the

forum clause providing, “Franklin County Ohio shall be designated as the venue for the resolution

of any claim[.]” 2016 WL 3459733, at *6. The court held that the clause required an Ohio state

court to hear the dispute even though a federal court sits in Franklin County. Id.

          In sum, under this Court’s precedent and guided by the majority of other courts that have

addressed the issue, the forum selection clause mandates dismissal in favor of state court.5

    II.      Extrinsic Evidence Shows that the Parties Intended for the Dispute To Be Heard
             Solely by the Washington County Circuit Court

          If the Court determines that the forum selection provision is ambiguous, then it may

“appropriately consider extrinsic evidence to interpret this contract provision.” Terra Int'l, Inc. v.

Mississippi Chem. Corp., 119 F.3d 688, 693 n.8 (8th Cir. 1997); Northport, 2020 WL 1846531, at

*2. “In ascertaining this intention, the court should place itself in the same situation as the parties




4
  Contrary to Bielema’s assertion, Oklahoma has three districts and is in Tenth Circuit.
5
  Arkansas state courts sit in each county. Northport, 2020 WL 1846531, at *4. Washington
County is no different, and all trials are held there, not Madison County.

                                                   5
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who made the contract in order to view the circumstances as the parties viewed them at the time

the contract was made.” Northport, 2020 WL 1846531, at *3.

       The course of dealings between the parties demonstrates that they intended for any disputes

between them to be heard in Washington County Circuit Court. The parties’ two prior contracts

included forum selection clauses specifically designating Washington County Circuit Court. The

evidence also shows that the controlling law and “exclusive venue” provisions in the Final Buyout

Agreement were not negotiated. Exhibit A, Scott Varady Aff., ¶¶ 5-8.6 Contemporaneous email

exchanges demonstrate that they discussed and negotiated many terms, but the controlling law and

“exclusive venue” provisions were never discussed. Id. ¶ 7 & Ex. 1. Thus, the parties understood

and intended for the venue provision to have the same effect as the prior agreements.

       Bielema argues that when the Final Buyout Agreement was executed Bielema was moving

out of state so the parties contemplated diversity jurisdiction and intended to permit suit in federal

court. Notably, though, the complaint claims only that he was aware that the venue clause would

allow him to litigate in state or federal court, not that venue was a negotiated term. Am. Compl.

¶ 6. In his brief, he now suggests that the venue provision was negotiated. But this argument is

unsupported7 and lacks credibility. He argues that the final agreement’s inclusion of the phrase

“without regard to its choice of law principles” demonstrates that the parties were for the first time

considering an interstate dispute. He contends that another state having a significant relationship

to the dispute “was too remote to mention” before 2018. That post-hoc rationalization is ludicrous

and clearly contrived in an attempt to salvage an improper forum-shopping effort by Bielema that

has now been challenged. SEC football is an interstate commercial activity and one can imagine


6
   The Foundation offers this Affidavit and supporting documentation in response to Bielema’s
erroneous and unfounded assertions regarding the “exclusive venue” provision.
7
   See P.S. Prod., Inc. v. Activision Blizzard, Inc., 140 F. Supp. 3d 795, 806 (E.D. Ark. 2014)
(explaining plaintiff may not amend complaint through response to motion to dismiss).

                                                  6
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innumerable scenarios from coaching to recruiting to marketing in which another state would have

been involved prior to 2018. Additionally, contrary to Bielema’s suggestion, all three agreements

have used the word venue, not forum, and his reliance on Simonoff’s definition of “exclusive” is

misplaced because that case involved the important word “in.” 643 F.3d at 1206 n.3.

          Finally, the Foundation has never conceded that the forum selection clause should be

construed against it. Indeed, the Eighth Circuit has held that in cases involving forum selection

clauses, the doctrine of contra proferentem should not be applied where, as here, the parties are of

“relatively equal bargaining strength[]” and the non-drafting party was represented by counsel.

Terra Int'l, Inc., 119 F.3d at 692. Moreover, the doctrine does not apply when the question may be

resolved in light of facts developed via extrinsic evidence, as it can be here. See Penford Corp. v.

Nat'l Union Fire Ins. Co. of Pittsburgh, PA, 662 F.3d 497, 505 (8th Cir. 2011). Finally, there is a

bargained-for provision prohibiting application of this doctrine. Therefore, the Court should decide

any ambiguity based on the ordinary rules of construction and extrinsic evidence.

   III.      The Court Need Not Accept the Truth of Bielema’s Contradictory Allegations

          Not content simply to argue that the Foundation is not an arm of the state (which is an

about-face from the allegations in his original complaint), Bielema doubles down in his brief,

arguing that the Foundation could never be an arm of the state, which begs the question – why did

he so allege in the first instance? His own brief underscores the absurdity of his original position.

As a result, the Court is not required to accept the truth of his new allegations because they directly

contradict his previous allegations. Bradley v. Chiron Corp., 136 F.3d 1317, 1324 (Fed. Cir. 1998).

          WHEREFORE, the Foundation hereby requests that Plaintiff’s Amended Complaint be

dismissed and that the Court grant it any other relief to which it is entitled.




                                                   7
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                                  Respectfully submitted,

                                  Marshall S. Ney, AR91108
                                  Robert W. George, AR98134
                                  Katherine C. Campbell, AR2013241
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                                  By:
                                             Marshall S. Ney, AR Bar 91108




                                       8
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                                CERTIFICATE OF SERVICE


        I, Marshall S. Ney, do hereby certify that the foregoing is being electronically filed with
the Court and that the below listed persons will receive a copy of the foregoing via the Court’s
electronic notification system (ECF), on or about this ____ day of August, 2020:

       Thomas A. Mars
       tom@mars-law.com

       R. Craig Wood
       cwood@mcguirewoods.com

       Benjamin P. Abel
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                                              Marshall S. Ney




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                                                    EXHIBIT A
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 From: Scott Varady <svarady@razorbackfoundation.com>
 Date: Saturday, December 23, 2017 at 12:53 PM
 To: Neil Cornrich <Neil@ncsports.us>
 Cc: Jonathan Hurst <jonathan@ncsports.us>
 Subject: Re: Bret Bielema Buyout

 Dear Neil and Jonathan:

 Thank you for taking time to visit this morning, Jonathan. Below please find responses in blue to Neil’s
 points.

 In our efforts to prepare the Release Agreement, we were straightforward in honoring the literal text
 and spirit of the documents.

 The core issues appear to be: mitigation, offset and the mechanism to implement those obligations in a
 mutually acceptable way.

     1. Paragraph 11 of the Guaranty Agreement establishes a mandatory obligation on Coach to seek
        other employment.
     2. Paragraph 11 of the Guaranty Agreement requires that all income (except passive investments
        and interest earnings) be offset against the buyout obligation.
     3. Similar to you, we do not want to be in a posture that requires either side to have to litigate to
        ensure that the parties’ substantive rights under the Guaranty Agreement have not be denied,
        diminished or subverted. Thus, I think both parties are best served by having a process to
        ensure that Coach is paid what he is entitled to receive, and the Foundation receives the
        mitigation and offset to which it is entitled under the express language of the Guaranty
        Agreement. Your response relating back to the Employment Agreement language is insufficient
        because it does not provide the process or certainty that will benefit each side. We proposed a
        structure that we thought was fair and provided clear certainty to both sides. Just as Coach is
        entitled to the benefit of the bargain on his buyout amount, so too is the Foundation entitled to
        the substantive benefit of its bargain on the mitigation and offset rights. The Foundation’s
        substantive rights could easily be subverted, among other ways, by Coach accepting a new
        coaching position and structuring low front‐end payments (below market rate) and then
        receiving an accumulated market rate payments in the back years (after the Guaranty
        Agreement obligations expire); we do not want to litigate over that or be in a position to breach
        our fiduciary responsibilities to the Foundation to enforce existing contracts by diminishing or
        diluting the organization’s existing rights to mitigation and offset. If you wish to propose an
        alternative structural mechanism than what we presented, we are happy to consider it. I will
        tell you that, for what it’s worth, the University used the same exhibit to Jeff Long’s release
        agreement (we are not trying to be unreasonable).
     4. With all that background, the Foundation position is that Coach has an affirmative duty to seek
        other employment and the Foundation is entitled to offset all income earned by Coach
        (excluding passive investments and interest earnings). We are happy to discuss the best way to
        create a clear process to allow both parties certainty without the need to engage in future
        litigation to enforce their respective rights.



                                                                           EXHIBIT 1
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 Please feel free to call to discuss. With you, Jonathan, Ken and me, we ought to be able to resolve this
 quickly in my judgment. Thanks for your help. Again, I respond to each of your points below.

 Happy Holidays to each of you and your families!

 Sincerely,
 Scott

 T. Scott Varady
 Executive Director & General Counsel
 The Razorback Foundation, Inc.
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 the person/entity to whom it was originally addressed. Any use by others is strictly prohibited. If
 you are not the intended person/entity, please contact the sender and delete the original
 message.



 From: Neil Cornrich <Neil@ncsports.us>
 Date: Monday, December 11, 2017 at 2:59 PM
 To: Scott Varady <svarady@razorbackfoundation.com>
 Subject: RE: Bret Bielema Buyout

 Scott,

 After reviewing the attached Release proposal, Coach Bielema would request that the
 University make the following modifications before proceeding:
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    1. Opening Paragraph. Please add the language “and was amended on or about
       February 6, 2015” as indicated below:

               WHEREAS, the Board of Trustees of the University of Arkansas, acting for the University of
               Arkansas, Fayetteville’s Athletic Department (the “University”) and Bielema entered into
               an Employment Agreement (“Employment Agreement”) that was effective as of
               December 4, 2012 and was amended on or about February 6, 2015; and

       Response:       Accepted.

    2. Prohibition Against Litigation (Section 2). The following stricken language was not
       agreed to in either of Coach Bielema’s contracts (Employment Agreement or Guaranty).
       It should either be removed as below or made mutual:

               Prohibition Against Litigation. In consideration of the benefits conferred in this
               Agreement, Bielema hereby covenants and agrees not to sue any of the Releasees on
               any of the released Claims (or any other matter whatsoever relating to any matter
               occurring on or before the execution of this Agreement) or join as a Party with others
               who may sue on any such Claims (or any other matter whatsoever relating to any matter
               occurring on or before the execution of this Agreement). Bielema hereby agrees to
               indemnify and hold each and all of the Releasees harmless from and against any and all
               losses, costs, damages, or expenses, including, without limitation, attorneys’ fees and
               costs (including, without limitation, all costs incurred in litigation such as, for example
               and without limitation, expert witness fees and all appellate costs and fees) incurred by
               the Releasees, or any of them, arising out of any breach of this Agreement by Bielema or
               the fact that any representation made herein by Bielema was false when made.

       Response:      Accepted on the condition precedent that we resolve all other
       outstanding issues.


    3. Bielema’s Duty of Mitigation and the Foundation’s Right of Offset (Section 5.B).

              Duty to Mitigate. As you may be aware, the following obligation proposed by the
               University is not in either of Coach Bielema’s contracts (Employment Agreement
               or Guaranty). While we recognize the University’s desire to be notified of Coach
               Bielema’s continued efforts to seek other employment, the University should
               eliminate this proposed requirement to provide written summaries every three
               months:

                       5.B. For any period of time that Bielema is unemployed, he shall provide a
                       written summary to the Foundation of his efforts to find other employment
                       every three (3) months during the life of the Agreement.

                       Response: Not Accepted. We are open to modifying the timing of a summary,
                       but we have an obligation to ensure that Coach is fulfilling his obligation to seek
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                    to mitigate. A “summary” is a very simple way to document Coach’s attempt to
                    seek other employment without creating an onerous burden. We are open to
                    the timing of it. What practical alternative are you suggesting to the mandatory
                    obligation to seek re‐employment here?

            Right to Offset – Types of Employment. Section 5.B of the proposed Release
             refers broadly to “Other Employment” regarding the University’s ability to offset
             its termination payments to Coach Bielema. However, Section 15(b) of Coach
             Bielema’s Employment Agreement restricts such employment to a “Coaching
             Position” as per the following excerpt:




             Therefore, Section 5.B of the attached Release should be modified to incorporate
             the above “Coaching Position” language (in lieu of the currently proposed “Other
             Employment” language).

             Response: Not Accepted.

             We used language directly out of the Foundation’s Guaranty Agreement. “The
             Parties understand and agree that if Bielema is successful in gaining such re-
             employment, or alternative employment of any kind, the Foundation’s obligation
             to make the monthly payments of the Guaranty Payment shall be reduced (i.e.,
             offset) dollar-for-dollar by the amount of compensation (including, the dollar value
             of any benefits packages) Bielema earns from such employment. The
             Foundation’s right to reduce (i.e., offset) the Guaranty Payment shall be ongoing
             beginning on November 25, 2017, and ending on December 31, 2020. The
             Foundation’s right to offset shall not include amounts Bielema earns from passive
             investments or interest not associated with any new employment.” Please
             compare the italicized language to the Guaranty Agreement.

             Below please find Paragraph 11 of the Guaranty Agreement:
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            Restrictions on the Structure/Value of Other Employment Packages. As you
             may be aware, the subject matter of the following proposed mitigation/offset
             language is not addressed in either of Coach Bielema’s contracts (Employment
             Agreement or Guaranty). Therefore, this portion of the Release should be
             removed in its entirety:

                    5.B. The Parties further understand and agree that Bielema’s duty of mitigation
                    includes the obligation to maximize his earning potential with a new
                    employer. Moreover, Bielema or any individual or entity acting on his behalf
                    shall not structure his compensation or any compensation package with a new
                    employer in any manner to avoid or to deny deny the Foundation’s right of offset
                    of the Guaranty Payment. Accordingly, the Foundation’s right of offset shall
                    include, but not be limited to, the right to offset the total economic value of any
                    compensation package, employment agreement, or other compensation formula
                    utilized with any new employer. For the avoidance of all doubt, the Parties
                    understand and agree that the duty to make the Guaranty Payment shall not be
                    treated as a subsidy for any future employer to pay Bielema less than market
                    value for his services.

                    Response:         What is an acceptable and practical approach to Coach
                    Bielema?


            Disclosure of Earnings & Tax Returns. The University’s proposed obligation
             for Coach Bielema to (1) disclose his payroll earnings and (2) provide copies of
             his federal tax returns is not addressed in either of Coach Bielema’s contracts
             (Employment Agreement or Guaranty). While we recognize the University’s
             desire for supporting information about Coach Bielema’s potential new
             employment, the following language should be removed, as well as the proposed
             Authorization for Disclosure of Employment Compensation:

                    5.B. Concurrent with the execution of this Agreement, Bielema shall also execute
                    the attached Authorization for Disclosure of Employment Compensation for the
                    time period beginning November 25, 2017 and ending on December 31, 2021,
                    and for the same time period, Bielema shall furnish a copy of his federal tax
                    returns (including, but not limited to all schedules) each year to permit the
                    Foundation to verify all Bielema’s compensation.

             Coach Bielema is amenable to the following language (also in Section 5.B)
             proposed by the University as a fair and reasonable way to cooperate with the
             University in these matters going forward:
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                         5.B. The Parties shall work in good faith to share any required information and
                         make all permitted reductions or offsets required by this Agreement.

        In light of the several issues delineated above, the simplest way to conform the duty to
        mitigate/offset/report is to simply incorporate the same provisions from the Employment
        Agreement. To that end, please delete proposed Section 5.B in its entirety and replace it
        with the following language:

                “Bielema acknowledges his duty to mitigate set forth in Paragraph 15(a) of the
                Employment Agreement and further acknowledges that the Guaranty Payment set
                forth above shall be offset according to the terms of Paragraph 15(b) of the
                Employment Agreement, the specific provisions of both of which shall be and hereby
                are expressly incorporated herein.”



                  Response:        What is an acceptable and practical approach to Coach Bielema? The
 referenced language does not provide a mechanical way or process for the parties to follow in
 implementing the mitigation and offset requirements.

    4. Entire Agreement (Section 8). Please add the following language in bold:

                This Agreement contains the entire agreement of the Parties with respect to the matters
                contained herein, and there are no other agreements, whether oral or written, between
                the Parties concerning the subject matter of this Agreement, except to the extent
                expressly referred to and incorporated herein. Notwithstanding the foregoing, this
                Agreement does not cancel or limit any release and waiver provisions contained in the
                Employment Agreement (as amended) or Guaranty Agreement.

                Response:        Obviously, this will depend on the final content of the Release
                Agreement. We are not necessarily opposed to it, but we don’t know that it will be
                needed in the end.

    5. Confidentiality (Section 17). Please modify the final sentence of this section as follows:

                In the event that Bielema either party fails to comply fully with this Section 17 of the
                Agreement, then the Foundation non‐breaching party shall be entitled to be indemnified by
                Bielema the breaching party for actual damages the Foundation non‐breaching party incurs
                as a result of the breach of this Section 17, including reasonable attorney’s fees, and Bielema
                the parties shall remain bound by the terms and conditions of this Agreement.

                    Response: I recommend we delete the confidentiality provision. The University has requested a
        copy of our final agreement, and consistent with NCAA principles of institutional control, we will have to
        release it to the University.


 Thank you very much.
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 NC


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 From: Scott Varady [mailto:svarady@razorbackfoundation.com]
 Sent: Wednesday, November 29, 2017 5:26 PM
 To: Neil Cornrich
 Cc: Kenneth Mourton; Billye H. Veteto
 Subject: Bret Bielema Buyout
 Importance: High

 Dear Neil,

 As a follow‐up to our recent conversation, I would like to review two issues with you. First, I will address
 the calculation of the Guaranty Payment owed under the Personal Services and Guaranty Agreement
 (“Guaranty Agreement”). Second, I will address the calculation of the final payment the Foundation
 owes to Coach Bielema for sums earned, but not yet paid. The second issue is independent of the
 Guaranty Payment.

 For your convenience and review, I am attaching copies of the following documents:

              Personal Services and Guaranty Agreement
              Employment Agreement;
              First Amendment to Employment Agreement; and
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            Release and Waiver Agreement.

 As I mentioned in our visit, the Employment Agreement is incorporated into the Guaranty
 Agreement. The Employment Agreement sets out the formula for determining, subject to the duty of
 mitigation and the right of offset, the maximum buyout to be paid to Coach Bielema.

 ISSUE ONE: THE GUARANTY PAYMENT

 As recited in the Employment Agreement, the formula for determining the amount owed to Coach
 Bielema is as follows:

     1. Compute the value of the monthly guaranty payment; and

     2. Multiply the monthly guaranty payment value by the total number of months remaining on the
        Employment Agreement (as amended) as of the effective date of the termination with any
        partial months being prorated.

     3. Subject to the duty of mitigation and the right of offset, the Foundation would make the
        monthly guaranty payments through the end of the term of the Employment Agreement.

 As an easy example, we can look at the final year of the Employment Agreement, as amended. Please
 note that the First Amendment to the Employment Agreement states that, if Coach Bielema is
 terminated for convenience at any time between January 1, 2020, and December 31, 2020, then the
 maximum buyout, subject to the duty of mitigation and the right of offset, would be $4,000,000.

 Assume that the University terminated Coach Bielema for convenience with six months remaining on
 the Term of the Employment Agreement.

 Step One

 According to the formula for determining the monthly value of the guaranty payment, $4,000,000 would
 be divided by 12 months (the period of months covered by the designated buyout amount). This
 calculation renders a monthly guaranty payment of $333,333.33 ($4M buyout amount/12 remaining
 months if terminated in the final year of the Employment Agreement).

 Step Two

 Multiply the monthly guaranty payment of $333,333.33 by the number of months remaining in the Term
 of the Employment Agreement as of the effective date of the termination with any partial months being
 prorated (there are no partial months in this example). In this example, six (6) months of the final year
 remain, and thus the following calculation applies: $333,333.33 x 6 = $2,000,000. Therefore, the
 Foundation would owe Coach Bielema a total of $2,000,000 to be paid in equal monthly installments on
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 the final working day of each calendar month in the amount of $333,333.00 per month (subject to the
 duty of mitigation and offset).

 The Calculation of the Buyout Owed to Coach Bielema

 In applying the buyout formula to Coach Bielema’s termination for convenience on November 24, 2017,
 and subject to the duty of mitigation and the right of offset, the Foundation owes Coach Bielema the
 sum of $11,935,000 to be paid in equal monthly installments on the final day of each calendar month,
 with the first month being a prorated amount. Please see the step‐by‐step process outlined in the
 following calculations.

  Coach Bret Bielema
  Contract Guaranty Amount
  Termination Date: 11/24/17

  Numerator ‐ Full amount of Guaranty Payment (dependent upon year) ‐ Divided by the total number of
  months remaining on the Term of the Employment Agreement beginning with the date that the Guaranty
  Payment is in effect. Here, the amount is $15,400,000 beginning on January 1, 2017. Thus, in determining the
  “Monthly Value of the Guarantee Payment,” this sum covers the 48‐month period beginning on January 1, 2017
  and ending on December 31, 2020. Below is the application of the formula.

  Guaranty Amount                               $15,400,000.00       Paragraph #5‐Amendment #1
  Term ‐ # of months from 1/1/17                48                   Jan 1, 2017 ‐ Dec 31, 2017
                                                $320,833.33          "Monthly Value of Guarantee Payment"

  ## of Full Months Remaining on Term           37                   Full Months (Dec 2017 ‐ Dec 2020)
                                                $11,870,833.33
  Add: November 2017 Prorated Payment           $64,166.67
  TOTAL OWED @ 11/25/17                         $11,935,000.00



  November Calculation – Prorated Amount
  Monthly Value of Guarantee Pymt               $320,833.33
  # of Days in November                         30
  Daily Value                                   $10,694.44
  November 25 ‐ November 30, 2017               6
  November Prorated Amount                       $64,166.67


 Consistent with the letter and spirit of the Guaranty Agreement, we share this calculation in good faith
 to fulfill the Foundation’s commitments to Coach Bielema. The Guaranty Payment is intended to pay
 Coach Bielema the specified amount for the remaining period of the unpaid balance of the term (subject
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 to mitigation and offset). Some published reports calculated the buyout to be as low as $5.9M and you
 referenced a payment of $15,400,000 without having the benefit to review the documents at the time. I
 note that the contract specifies that the rule of construction that any ambiguity is construed against the
 drafting party has no effect and that all parties participated equally in the wording of the Guaranty
 Agreement. We believe our calculation is consistent with the intent and wording of the Guaranty
 Agreement, and we are confident that we can agree promptly to facilitate the start of the payments to
 Coach Bielema.

 Subject to the contingent precedent that we execute a Release and Waiver Agreement, our first
 payment to Coach Bielema would be due on Thursday, November 30, 2017. We are prepared to do so if
 Coach Bielema executes the Release and Waiver Agreement we have attached to this email.

 I hope your team has had a chance to review the documents and will be able to quickly review our
 calculations so that we can conclude this matter. Beyond this issue, the Foundation is responsible to
 pay Coach Bielema for any outstanding obligations that have accrued prior to his termination but have
 not yet been paid. I will address that issue now.

 ISSUE TWO: Amount Owed But Not Yet Paid

 As stated, the amounts earned by Coach Bielema under his Personal Services and Guaranty Agreement
 but that have not yet been paid total as follows.

  Calculation of November Prorated Payment for PSC Payment

  Termination Date                11/24/2017



  Monthly PSC Amt                 $      41,666.67
  PSC Per Day                     $       1,388.89
  ## of Days thru Term Date       24                    11/1/17‐11/24/17
  TOTAL Owed thru 11/24/17        $      33,333.34



 Please let us know if you have any questions or comments on this issue, and we will process and deliver
 the payment to Coach Bielema by a hard copy check.

 Conclusion

 Thank you very much for reviewing these issues. We look forward to visiting with you.

 Sincerely,
 Scott
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                                                   EXHIBIT 2
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